    2:11-cr-00511-BHH     Date Filed 10/02/14   Entry Number 446      Page 1 of 7




            IN THE DISTRICT COURT OF THE UNITED STATES
                    DISTRICT OF SOUTH CAROLINA
                       CHARLESTON DIVISION


UNITED STATES OF AMERICA              )     Criminal No. 2:11-CR-511
                                      )
      v.                              )
                                      )
JIAN-YUN DONG,                        )
a/k/a John Dong,                      )
GENPHAR INC., and                     )
VAXIMA INC.                           )


                        MOTION TO DISMISS
                  FOR PROSECUTORIAL MISCONDUCT

      NOW COME the Defendants, through counsel, and move this Court to

dismiss the charges of the Third Superseding Indictment because the actions of the

government before the Grand Jury infringed on the Grand Jury’s ability to exercise

independent judgment. In support of this motion, Defendants show as follows:

                           STATEMENT OF FACTS

      The Grand Jury for the District of South Carolina filed a Third Superseding

Indictment on April 16, 2013 (Dkt # 281) naming three Defendants, Jian-Yun

Dong, a/k/a John Dong, GenPhar, Inc., and Vaxima, Inc. The Third Superseding

Indictment alleges “theft of government funds” and “embezzlement” in thirty-three

counts, identified as Counts Two through Thirty-Four. Each of the Counts name

John Dong, as well as either GenPhar, Inc. or Vaxima, Inc. or both.
    2:11-cr-00511-BHH     Date Filed 10/02/14   Entry Number 446    Page 2 of 7




      After the indictment was issued, the defense filed a motion for discovery and

inspection on September 23, 2013.         In response to discovery requests, the

government provided redacted grand jury transcripts to the Defendants. Following

review of the redacted transcripts, and as a result of information found therein, the

Defendants filed a motion to compel the production of unredacted transcripts on

April 30, 2014. The court has not issued a ruling on that motion.

      Nevertheless, even the redacted transcripts demonstrate a pattern of

incidents before the Grand Jury in which the attorney for the government exceeded

the scope of direct examination and actually provided testimony to the Grand Jury.

      For example, when the prosecutor initially examined Special Agent Brian

Dimler, the Grand Jury foreperson interrupted with a question.            When the

prosecutor resumed questioning the witnesss, the following dialogue occurred:

            Q.    But this - - this is the correct date now, correct?
            A.    Yes.
            Q.    And you had previously given me a wrong date in your original
     draft of some changes…
            A.    That’s correct.
            Q.    …because we made substantial revisions to this as a second
     superseding indictment, did we not, Special Agent Dimler?
            A.    Yes, sir, that’s correct.
Grand Jury Transcript, p. 572., lines 6-14.

      The Defendant asserts that every bit of information in that exchange came

from the prosecutor. Only a short time later, the prosecutor phrased a “question”

in the following manner: “So the bottom line is that - - the allegations have been
     2:11-cr-00511-BHH     Date Filed 10/02/14   Entry Number 446     Page 3 of 7




there all along was that the wave bioreactor was never purchased. That is still

correct.” Grand Jury Transcript, p. 573.

      Later, the prosecutor continued to testify: “And when you say inconsistent,

what you’re basically alleging here is that there was not only fraud in the

application process, but there was fraud in the reporting process of the hours

worked, is that correct.” Grand Jury Transcript, p. 578.

      One more egregious example was when the prosecutor made the following

statement:

     All right. Now, Special Agent Dimler, you - - Special Agent Leonard has
     previously testified about how this conspiracy affected these agencies and
     the grand jury has previously returned an indictment charging that Genphar,
     Vaxima and Dr. Dong engaged in a multi-faceted conspiracy to provide - -
     to make false statements to the government, to make false claims, to convert
     property and to use the wires in furtherance of the scheme and artifice to
     defraud the government. I take it you would rely on those same - - that same
     testimony, same overall evidence to support the specific allegations that this
     conspiracy also involved a - - defraud the United States and its agencies by
     obtaining money and property through false and fraudulent statements,
     representations and promises, is that correct?
Grand Jury Transcript, p. 580-581.

      Similarly, in examining Special Agent Leonard, the prosecutor testified

again: “And that document itself, did it not contain a certification - - well it didn’t

say penalties of perjury, a statement that indicated that the person knew that they

were supposed to fill this out, provide truthful information, and a failure to provide

truthful information could subject them to civil or - - and/or criminal penalties.”
    2:11-cr-00511-BHH     Date Filed 10/02/14   Entry Number 446    Page 4 of 7




Grand Jury Transcript, p. 31. And only a short time later the following exchange

took place:

     Q.     Okay. So they were supposed to purchase it the first year, they didn’t.
     The second - - they asked for a pass through to draw it down in the second
     year and purchase the machine, and did they submit a - - this request for
     reimbursement on August 19th, 2008?
     A.     Yes.
     Q.     But, in fact, they never purchased such an item.
     A.     Correct.
     Q.     And I believe you mentioned a few minutes ago this MUSC datasheet
     where Dr. Dong is representing that he does not have an ownership interest
     in Vaxima. Was the date of that datasheet submitted - - was it December
     17th of 2008?
     A.     Yes.
Grand Jury Transcript, p. 37-38.

      These are a few examples of the actions of the prosecutor for the

government which exceeded just asking questions of a witness.

               THE INDICTMENT SHOULD BE DISMISSED
              BECAUSE OF PROSECUTORIAL MISCONDUCT

      Although attorneys traditionally are given a degree of latitude to use leading

questions on cross-examination, the prosecutor in this case crossed the line. The

questions went beyond mere leading questions to actual testimony for which he

sought the affirmation of the witness. This is particularly troubling given the

prosecutor’s unique position with and access to the Grand Jury.

      A Grand Jury must have a degree of independence to fulfill its critical role in

the justice system. This Court can and should act to correct this injustice. In

United States v. Hastings, 461 U.S. 499, 103 S.Ct. 1974, 76 L.Ed.2d 96 (1983) the
     2:11-cr-00511-BHH      Date Filed 10/02/14   Entry Number 446     Page 5 of 7




Court looked at the authority of trial courts to deal with instances of prosecutorial

misconduct.

             ‘[G]uided by considerations of justice,’ McNabb v. United States, 318
      U.S. 332, 341 (1943), and in the exercise of supervisory powers, federal
      courts may, within limits, formulate procedural rules not specifically
      required by the Constitution or the Congress. The purposes underlying use
      of the supervisory powers are threefold: to implement a remedy for violation
      of recognized rights, McNabb, supra, at 340; Rea v. United States, 350 U.S.
      214, 217 (1956); to preserve judicial integrity by ensuring that a conviction
      rests on appropriate considerations validly before the jury, McNabb, supra,
      at 345; Elkins v. United States, 364 U.S. 206, 222 (1960); and finally, as a
      remedy designed to deter illegal conduct, United States v. Payner, 447 U.S.
      727, 735-736, n. 8 (1980).

Id., 461 U.S. at 505.

      Although the Hastings Court found the error to be harmless, the Court made

clear the responsibility of a district court to use its supervisory power to ensure

fairness in the judicial process.

      The Court also looked at the scope of supervisory authority in Bank of Nova

Scotia v. United States, 487 U.S. 250, 108 S.Ct. 369, 101 L.Ed.2d 228 (1988) in

which it reinforced the need for courts to exercise their supervisory authority in

cases in which a defendant has been prejudiced by prosecutorial misconduct. In

the case at bar, the Defendants were prejudiced by the government’s presentation

of unsworn testimony from the prosecutor who was in a unique position to work

with the Grand Jury and explain his version of the facts from one witness to

another.
    2:11-cr-00511-BHH     Date Filed 10/02/14   Entry Number 446     Page 6 of 7




      The government prosecutor’s inappropriate questioning was so pervasive

throughout the portions of the transcript provided to the Defendants that it is

impossible to determine the degree to which it influenced the Grand Jury in their

decision whether to issue a true bill. If left unchallenged and unchecked by the

court, this eliminates grand jurors’ rights and their responsibility to examine

independently facts presented by witnesses. The only appropriate remedy is to

dismiss the Third Superseding Indictment. Further, because of the extent of the

prosecutorial misconduct, such dismissal should be with prejudice.

                                 CONCLUSION

      The government committed prosecutorial misconduct when the prosecutor

overstepped the line by testifying to the grand jury rather than merely conducting

an examination of witnesses.      The Defendants were prejudiced because the

independence of the Grand Jury was invaded and destroyed. For this reason, the

charges in the Third Superseding Indictment should be dismissed with prejudice.

                                      Respectfully submitted,

                                      /s Rose Mary Parham
                                      _____________________________
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    2:11-cr-00511-BHH      Date Filed 10/02/14   Entry Number 446   Page 7 of 7




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October 2, 2014
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